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                IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF OKLAHOMA

   1. DONNA HALL, an individual,        )
                                        )
                   Plaintiff,           )
                                        )
   v.                                   )
                                        )
   1.   KIA MOTORS CORPORATION,         )
        a/k/a KIA CORPORATION, a South  )                Case No. 22-cv-00080-TCK-SH
        Korean corporation;             )                (Formerly District Court of Creek
   2.   KIA AMERICA, INC., a California )                County-Bristow Division, Court
        corporation;                    )                Case No. CJ-2021-14)
   3.   KIA MOTORS, S.A. DE C.V.; and   )
   4.   FERGUSON ADVANTAGE              )
        IMPORTS ISUZU-SUBARU-KIA-       )
        SUZUKI, LLC d/b/a FERGUSON      )
        SUPERSTORE, an Oklahoma Limited )
        Liability Company,              )
                                        )
                   Defendants.          )

           PLAINTIFF’S MOTION TO REMAND AND BRIEF IN SUPPORT

          COMES NOW Plaintiff, by and through her counsel of record, and pursuant to 28

   U.S.C. § 1447 moves the Court for an Order remanding this case to the District Court of

   Creek County- Bristow Division, State of Oklahoma, for further proceedings as there is no

   federal question asserted in this matter and diversity does not exist between the parties.

   Plaintiff has made sufficient allegations against Defendant Ferguson Advantage Imports

   Isuzu-Subaru-Kia-Suzuki, LLC d/b/a Ferguson Superstore (hereinafter “Defendant

   Ferguson”) under Oklahoma’s liberal notice pleading standard and sufficient facts were

   alleged to bring a claim against Defendant Ferguson for its own liability. Therefore,

   Plaintiff asks this Court to remand this matter to state court as there is no proper basis for

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   “snap” removal in this matter. In support, Plaintiff shows this Court:

                                    STATEMENT OF FACTS

      1. This lawsuit arises out of a defective design and lack of adequate warnings of

          dangerous conditions of a 2019 Kia Forte (hereinafter “vehicle”) which caused a

          personal injury incident which occurred in Depew, Creek County, Oklahoma on

          June 18, 2019.

      2. Plaintiff and her granddaughters wanted to go swimming at a family member’s

          house, so they packed up for the swimming trip and drove the vehicle to a house

          down the road.

      3. The vehicle was parked at a slight incline of the driveway.

      4. Due to the kids’ excitement, Plaintiff hurried out of the vehicle and the vehicle was

          inadvertently left running and the gear left in “drive”.

      5. When Plaintiff came back to get sunscreen out of the vehicle she opened the driver’s

          side door, leaned into the vehicle and felt the cool air blowing.

      6. Plaintiff realized she left the vehicle running and turned the vehicle off, unaware

          that the vehicle was still in “drive”.

      7. As Plaintiff turned off the vehicle, it immediately began rolling backwards, pinning

          Plaintiff with the open driver’s side door against the frame and door opening of the

          vehicle.

      8. Plaintiff was knocked to the ground by the accelerating car.

      9. The vehicle rolled over Plaintiff causing serious, life altering injuries.


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      10. This matter was originally filed in Creek County-Bristow Division, Oklahoma, Case

          No. CJ-2021-14.

      11. Defendant Ferguson entered its appearance in the Creek County-Bristow Division,

          Oklahoma, Case No. CJ-2021-14, on February 22, 2022.

      12. On February 22, 2022, Defendant Kia America, Inc. (hereinafter “Defendant Kia

          America”) filed a Notice of Removal in the District Court for the Northern District

          of Oklahoma asserting that removal is proper “because Ferguson has been

          fraudulently joined to prevent removal.”

      13. However, Plaintiff has alleged sufficient facts against Defendant Ferguson under

          Oklahoma’s notice pleading standard and sued Defendant Ferguson for its own

          actions and inactions making removal improper in this matter.

                              ARGUMENT AND AUTHORITY

          There is an “overriding principle that because federal removal jurisdiction is

   statutory in nature, it is strictly construed.” Farmland Nat'l Beef Packing Co., L.P. v. Stone

   Container Corp., 98 F. App'x 752, 755-56 (10th Cir. 2004) (See also Shamrock Oil & Gas

   Corp. v. Sheets, 313 U.S. 100, 108–09, 61 S.Ct. 868, 85 L.Ed. 1214 (1941)). A Defendant

   seeking removal bears a heavy burden of proving fraudulent joinder warranting disregard

   of citizenship of allegedly fraudulently joined defendants in assessing whether diversity

   jurisdiction exists, and all factual and legal issues must be resolved in favor of plaintiff.

   Dutcher v. Matheson, 733 F.3d 980 (10th Cir. 2013). The burden of establishing removal

   jurisdiction falls on the party in support of removal, which is strictly construed against


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   removal. Garvin Agee Carlton, P.C. v. Brent W. Coon, P.C., No. CIV-18-1053-D, 2019

   WL 2136473, at *2 (W.D. Okla. May 16, 2019). If the defendants fail to carry their

   burden, the case must be remanded to the state court from which it was removed. Id.

   Defendant Kia America has failed to meet its burden in this matter in this matter and this

   case should be remanded to state court.

          It is well established that federal courts are courts of limited jurisdiction. “They

   possess only that power authorized by the Constitution and statute.” Kokkonen v. Guardian

   Life Ins. Co. of America, 511 U.S. 375, 377 (1994). For a federal court to have original

   jurisdiction over a case or controversy, there must exist a federal question or diversity

   jurisdiction. Neither of the circumstances exist here. As admitted by Defendant Kia

   America, Defendant Ferguson is an Oklahoma limited liability company and despite its

   assertions of fraudulent joinder, the facts of this matter support this case being remanded

   to state court for further proceedings. Absent any proof that any member of Defendant

   Ferguson is a resident of another state removal cannot lie.

          In its Notice of Removal, Defendant Kia America claims that Plaintiff fraudulently

   joined Defendant Ferguson because Plaintiff alleges products liability and negligence

   claims against Defendant Ferguson in only the most general conclusory terms and without

   any facts to support an independent claim against Defendant Ferguson. Let us unpack

   Defendant Kia America’s allegation. Oklahoma is a notice pleading state which means

   only a “short and plain statement of the claim showing that the pleader is entitled to relief”

   is required to properly state a claim. OKLA. STAT. tit. 12, § 2008. Since this action was


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   originally filed in state court, this liberal pleading standard applied to Plaintiff’s Amended

   Petition. Morevoer, notwithstanding the liberal standard under Oklahoma law, Plaintiff

   made particular and specific allegations against Defendant Ferguson, specifically stating:




   These allegations differ from those made generally against the remaining Defendants

   which are categorized by referencing “The Kia Defendants” instead. The assertion that

   Plaintiff failed to make specific and particular claims against Defendant Ferguson is

   disproven by a simple reading of Plaintiff’s First Amended Petition.

          Defendant Kia America next asserts that Plaintiff failed to state that she purchased

   the subject vehicle from Defendant Ferguson. This belies the plain language of Plaintiff’s

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   First Amended Petition wherein Plaintiff alleged that “[e]ach of the Defendants herein

   participated, collaborated and in concert with one another caused the release in to the

   stream of commerce, for profit to each of the Defendants, the [subject vehicle] . . .” Plaintiff

   is unsure what Defendant Kia America assumed the allegation meant besides that very

   point, but it is clear that Plaintiff asserted that Defendant Ferguson participated in releasing

   the vehicle into the stream of commerce, and the only way possible for that is if Ferguson

   sold the vehicle. Asking this Court to analyze Plaintiff’s First Amended Petition in any

   other fashion is akin to suggesting the Court swallow a camel while it strains at a gnat..

   This Court (nor Plaintiff) is not bound by Defendant Kia America’s characterizations of

   Plaintiff’s claims outlined in the forty-six (46) paragraphs of her Amended Petition and

   any factual and legal issues which Defendant Kia America asserts exists in Plaintiff’s

   Amended Petition must be resolved in Plaintiff’s favor.

          As outlined by Defendant Kia America in its Notice of Removal, there are several

   ways in which Plaintiff has the possibility of recovery against Defendant Ferguson under

   Oklahoma law. Addressed in more detail below, under Oklahoma law, a dealer has

   independent duties in warning individuals about the dangerous propensities of the vehicles

   sold and can be held liable for express warranties made -when the vehicle was sold.

          Plaintiff’s allegations brought in her First Amended Petition against Defendant

   Ferguson state a “short and plain statement of the claim showing that the pleader is entitled

   to relief” and are satisfactory to establish a cause of action against it in state court, therefore

   Defendant Kia America’s first argument fails. However, should this Court find that


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   Plaintiff did not plead sufficient detail in her First Amended Petition, Plaintiff should be

   permitted to amend her Petition to assert the specific relief under Oklahoma law. See FED.

   R. CIV. PRO, R. 15 (a)(2) (“[L]eave to amend ‘shall be freely given when justice so

   requires.”).

           Second, Defendant Kia America argues that Plaintiff has no possibility of recovery

   against Defendant Ferguson and moves on to an Oklahoma statute which outlines all the

   ways in which Plaintiff may assert a product liability action against a non-manufacturing

   seller. In this case, more than one of the listed exceptions apply, specifically:

                  2. The product seller made an express warranty as to such
                     product independent of any express warranty made by a
                     manufacturer as to such product, such product failed to
                     conform to the product seller's warranty, and the failure of
                     such product to conform to the warranty caused the harm
                     complained of by the claimant; or
   and

                  6. The court determines that the claimant would be unable to
                     enforce a judgment against the manufacturer.

   OKLA. STAT. tit. 76, § 57.2 (E). As alleged in Plaintiff’s Amended Petition, the

   manufacturer is a South Korean corporation. Even if Plaintiff was to obtain a judgment

   against the manufacturer, she is very likely to face severe difficulties and uncertainties in

   any efforts made toward enforcing such a judgment against a foreign, South Korean

   corporation.

         As previously stated, under the Oklahoma notice pleading requirement, Plaintiff’s

   Petition outlines sufficient facts to allege both of these exceptions and further discovery is

   needed for facts supporting each allegation, but should this Court decide that supporting

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   assertions are needed, Plaintiff asks this Court allow her leave to amend her Petition to

   conform with this Court’s standard.

       Finally, Defendant Kia America moves on to show this Court the very basis for

   Plaintiff naming Defendant Ferguson in this action- failure to warn. The statute referenced

   by Defendant Kia America, OKLA. STAT. tit. 76, § 57.2 (G) outlines:

                  G. A product seller other than a manufacturer is liable to a
                  claimant on the basis of negligence if the claimant establishes
                  that:
                  1. The product seller sold the product involved in such action;
                  2. The product seller did not exercise reasonable care:
                  a. in assembling, inspecting, or maintaining such product, or
                  b. in passing on warnings or instructions from such product's
                  manufacturer about the dangers and proper use of such
                  product; and
                  3. Such failure to exercise reasonable care was a proximate
                  cause of the harm complained of by the claimant.

   As previously stated, and admitted by Defendant Kia America, in her Amended Petition

   Plaintiff alleged that:




          Plaintiff’s allegations are in line with the cited statute and under the notice pleading

   standard of the Oklahoma State Courts, satisfy asserting a claim against Defendant

   Ferguson. Defendant Kia America then focuses on a scrivener’s error made in Paragraph

   31 of Plaintiff’s Amended Petition, which is obvious from the context of the allegation

   made. Defendant Kia America claims that:


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          However, Plaintiff’s Amended Petition was intended to state that what warnings

   were given by Defendants, including Defendant Ferguson, were inadequate to place

   consumers on notice of the unreasonably dangerous conditions described in her Amended

   Petition. Once again, should this Court see it necessary, Plaintiff respectfully asks this

   Court to grant her leave to amend her Petition to make the necessary correction.

          As previously mentioned, “Defendant seeking removal bears a heavy burden of

   proving fraudulent joinder . . . and all factual and legal issues must be resolved in favor of

   plaintiff.” Dutcher v. Matheson, supra. Defendant Kia America has not shown that Plaintiff

   has no possibility of recovery against Defendant Ferguson, but to the contrary, has shown

   the Court that Oklahoma Statutes permit many opportunities for such recovery. Since all

   factual and legal issues must be resolved in Plaintiff’s favor, based on the facts presented

   this matter should be remanded back to Oklahoma State Court for further proceedings.

                                          CONCLUSION

          Defendant Kia America has the burden of proving that removal is proper in this

   matter and the burden is strictly construed against removal. Here, Defendant Kia America

   has failed to show that Plaintiff’s pleadings did not allege sufficient facts to state a claim

   against Defendant Ferguson under the liberal notice pleading standard of the Oklahoma

   State Courts where this matter was initially filed. Further, Defendant Kia America has not


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   shown that Plaintiff could not recover against Defendant Ferguson in this matter, therefore

   removal is not proper and this matter should be remanded to state court for further

   proceedings.

          WHEREFORE, premises considered, Plaintiff prays this Court grant its Motion to

   Remand and remand this matter to state court and for all relief this Court deems equitable

   and just. In the alternative, Plaintiff prays this Court grant leave for Plaintiff to amend her

   First Amended Petition to more specifically please the allegations against Defendant

   Fowler and hold in abeyance any ruling on Plaintiff’s Motion to Remand and permit

   Plaintiff to supplement this Motion with the filed amended Complaint.

                                                          Respectfully submitted,

                                                          s/Michael D. Denton, Jr.
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                                                          ATTORNEYS FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE
          I hereby certify that on March 24, 2022, I electronically transmitted the attached
   document to the Clerk of Court using the ECF System for filing. Based on the records
   currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
   following ECF registrants:

          Rodney L. Cook, OBA #10253
          Evan G. Vincent, OBA #22325
          CROWE & DUNLEVY, P.C.

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